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                                                                 February 26, 2018

 VIA ECF
 Honorable Leda Dunn Wettre, U.S.M.J.
 United States District Court
 Martin Luther King, Jr. Federal Building
 50 Walnut Street
 Newark, New Jersey 07102

            Re:         Celgene Corporation v. Dr. Reddy’s Laboratories, Ltd., et al.
                        Civil Action Nos. 16-7704 (SDW)(LDW)

 Dear Judge Wettre:

         This firm, together with Perkins Coie LLP, represents Defendants Dr. Reddy’s
 Laboratories, Ltd. and Dr. Reddy’s Laboratories, Inc. (collectively, “DRL”) in the above matter.
 We write jointly on behalf of all parties to inform the Court that DRL has proposed to amend its
 noninfringement contentions for two of the patents-in-suit, and that the parties have reached an
 agreement, subject to Your Honor’s approval, with respect to DRL’s proposed amendments. The
 parties’ agreement will avoid motion practice on this issue.

         In particular, pursuant to L. Pat. R. 3.7, DRL seeks leave to amend its noninfringement
 contentions with respect to U.S. Patent Nos. 8,648,095 and 9,101,622. DRL respectfully submits
 that it has good cause to amend its noninfringement contentions to reflect changes made to its
 product labeling because the label changes were proposed to FDA after DRL produced its
 original noninfringement contentions. Plaintiff Celgene Corporation does not oppose DRL’s
 application subject to an opportunity to respond to DRL’s amendments within the time allotted
 under the Local Patent Rules for responding to contentions, as set forth in the below proposed
 schedule. In light of DRL’s agreed-upon amendments to its contentions, Celgene respectfully
 submits that there is also good cause for Celgene to amend its responses to DRL’s
 noninfringement contentions because Celgene should be afforded the opportunity to respond to
 DRL’s amended contentions, which were previously unknown/unasserted.



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 T 518.462.3000 F 518.462.4199   T 212.455.9555 F 212.687.9044        T 845.473.8100 F 845.473.8777    T 516.357.3000 F 516.357.3333
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        Accordingly, DRL respectfully requests that Your Honor grant its request for leave to
 amend its contentions and, in turn, also grant Celgene leave to amend its responsive contentions
 to address DRL’s new contentions on the following schedule:

                                         Event                                Date
                   DRL served amended noninfringement
                                                                            1/24/18
                   contentions for the ’095 and ’622 patents
                   Celgene serves amended infringement
                                                                            3/12/18
                   contentions for the ’095 and ’622 patents

        If this meets with the Court’s approval, we respectfully request that Your Honor sign the
 below form of endorsement and have it entered on the docket.

              Thank you for Your Honor’s kind attention to this matter.

              Respectfully submitted,                          Respectfully submitted,

              SAUL EWING ARNSTEIN & LEHR LLP                   RIVKIN RADLER LLP

              s/ Charles M. Lizza                              s/ Gregory D. Miller
              Charles M. Lizza                                 Gregory D. Miller

              Attorneys for Plaintiff,                         Attorneys for Defendants,
              Celgene Corporation                              Dr. Reddy’s Laboratories, Ltd. and Dr.
                                                               Reddy’s Laboratories, Inc.

 cc:          Outside counsel of record (by ECF and email)


 SO ORDERED:


 _________________________________________________
 Hon. Leda D. Wettre, U.S.M.J.




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